Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23                Desc Main
                                     Document     Page 1 of 14



                        IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHEN DISTRICT OF OHIO
                                    WESTERN DIVISION

 In re:                                              :           Case No. 10-33397
                                                     :
 Jeffery A. Faulkner                                 :           Chapter 11
                                                     :
                                                     :           Judge Humphrey
          Debtor and Debtor in Possession            :



   FIRST AMENDED PLAN OF REORGANIZATION AS MODIFIED AT DISCLOSURE
    STATEMENT HEARING AND MODIFIED AFTER THE ORDER OF THE COURT
                      ENTERED SEPTEMBER 8, 2011.


 THIS PLAN IS DATED: August 26, 2011
 Debtor submits the following First Amended Plan of Reorganization as Modified at the Disclosure
 Statement Hearing.

                                               Definitions

 The following terms, when used in the Plan, shall, unless the context otherwise requires, have the
 following meanings, respectively:
 Allowed Amount: shall mean
 a.      with respect to any Administrative Claim, other than a current obligation, if the claim is based
 upon a fee application, the amount of such fee application that has been approved by a Final Order of
 the Bankruptcy Court; with respect to any current obligation, the amount of such claim that has been
 agreed to by the Debtor and such creditor, failing which, the amount thereof as fixed by a Final Order
 of the Bankruptcy Court;
 b.     with respect to a Tax Claim, the amount of such claim that has been agreed to by the Debtor
 and such creditor, failing which, the amount thereof as fixed by a Final Order of the Bankruptcy Court;
 c.       with respect to any Priority Claim, Secured Claim, Unsecured Claim, or Subordinated Claim,
 (i) if the holder of such claim has not filed proof thereof with the Bankruptcy Court within the
 applicable period of time fixed by the Bankruptcy Court pursuant to Rule 3003(c)(3) of the
 Bankruptcy Rules and a Final Order issued there under, the amount of such claim as listed in the
 Debtor's Schedules, as amended, as neither disputed, contingent or unliquidated; or (ii) if the holder of
 such claim has filed proof thereof with the Bankruptcy Court within the applicable period of time fixed
 by the Bankruptcy Court pursuant to Rule 3003(c)(3) of the Bankruptcy Rules and a Final Order
 issued there under, (1) the amount stated in such proof if no objection to such Proof of Claim was


                                                    1
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23                Desc Main
                                     Document     Page 2 of 14


 interposed within applicable period of time fixed by the Bankruptcy Code, the Bankruptcy Rules
 or the Bankruptcy Court, or (2) the amount thereof as fixed by Final Order of the Bankruptcy Court
 if an objection to such proof was interposed within the applicable period of time fixed by the
 Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court.

 Allowed Claim: shall mean any claim for which an allowed amount has been determined.

 Ballot Date : shall mean the date set by the Bankruptcy Court as the last date for timely submission
 by a creditor or interest holder of a ballot accepting or rejecting the Plan.

 Claim: shall mean

 a.      a right to payment from the Debtor, whether or not such right is reduced to judgment,
 liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
 equitable, secured or unsecured; or

 b.     a right existing or deemed to exist as at the filing date as against the Debtor to an equitable
 remedy for breach of performance if such breach gives rise to a right to payment, whether or not
 such right to an equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
 contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

 Confirmation of the Plan: The entry by the Court of an Order Confirming the Plan in accordance
 with Chapter 11 of the United States Bankruptcy Code.

 Consummation of the Plan: The commencement of payments provided for in the Plan.

 Debtor: Jeffery A. Faulkner

 Disclosure Statement: shall mean the Disclosure Statement filed on behalf of the Debtor pursuant to §
 1125 of the Bankruptcy Code in aid of confirmation of the Plan, as may be amended, modified or
 supplemented.
 Disputed Claim: shall mean any claim or any portion thereof (including any fee claim but excluding
 all allowed claims):

 a. which is scheduled in the Debtor's Amended Schedules as being disputed, contingent or
 unliquidated; or

 b. as to which (i) a proof of claim has timely been filed, (ii) an objection has been timely filed by or
 on behalf of the Debtor or any other party in interest and not withdrawn, and (iii) no Final Order exists
 allowing or disallowing such claim or portion thereof.
 In the event that any part of a claim is disputed, such claim in its entirety shall be deemed a disputed
 claim for purposes of distribution under the Plan, unless the Debtor and the holder thereof otherwise
 agree.
 Effective Date: The date upon which the Order of Confirmation of the Plan becomes final and
 non-appealable.

                                                    2
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23             Desc Main
                                     Document     Page 3 of 14



 Filing Date: May 25, 2010, the date of filing of the Debtor's Petition for Relief under Chapter 11.

 Final Decree: The Final Decree after confirmation shall be entered upon substantial consummation of
 the confirmed Plan along with a discharge of the Debtor.
 Final Order: An order or judgment of the Court (i) as to which the time for appeal has expired and no
 appeal was filed timely or if an appeal has been filed no stay has been issued or (ii) from which any
 appeal has been finally determined or dismissed.
 Plan: This Plan of Reorganization, as may be amended, modified or supplemented.
 Schedules: shall mean the Schedules of Assets and Liabilities filed by the Debtor with the Bankruptcy
 Court in accordance with Bankruptcy Rule 1007, as they have been or may be amended or
 supplemented from time to time in accordance with Bankruptcy Rule 1009.

                                            ARTICLE I.

                                Classification of Claims and Interests

 The claims and interests shall be classified as follows:

 Class 1:        Administrative Claims.

 Class 2:        Real Estate Claims- Secured Claims – Modifications Reached

 Class 3:      Real Estate Claims – Real Estate Claims Properties retained by Debtor with no
 modification of Note in place or no agreement reached as to modification at confirmation,
 Treatment of Surrendered Properties.

 Class 4:        Claims of Kelly and Brenda Hollon

 Class 5:        Claims for Real Estate Taxes

 Class 6:        Claims of Other Governmental Units

 Class 7:        Other General Unsecured Claims

Class 8:     Interests of Jeffery A. Faulkner and Interests of Jeffery A Faulkner in the Faulkner
Family Trust

                                             ARTICLE II.

                                Claims Not Impaired Under the Plan

 All classes of claims are impaired by the Plan.



                                                     3
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23               Desc Main
                                     Document     Page 4 of 14


                                            ARTICLE III.

                                        Treatment of Classes

 Class 1: Administrative Claims.

         Certain entities including Debtors' attorneys, accountants, appraisers, or other
 professionals authorized to be employed by the Debtors, if any, may file Applications with the
 Bankruptcy Court for the allowance of compensation and reimbursement of expenses. Requests
 for compensation are subject to approval by the Bankruptcy Court after a hearing on notice at
 which the Debtors and other parties in interest may participate and, if appropriate, object to the
 allowance of any compensation and reimbursement of expenses. Attorney fees are not known at
 present, but are estimated to be $128,000.00 at Confirmation. Other professional fees are not know
 at present, but are estimated to be $5,000.00 at Confirmation. These amounts may be greater or
 lesser depending upon matters involved in the Chapter 11 proceeding, including issues relating to
 claims and the confirmation of the Plan. The allowed professional fees, after court approval, shall
 be paid the later of 60 days after Effective Date or within 60 days of approval, unless otherwise
 agreed upon by the parties. Additional administrative expenses would include U.S. Trustee fees
 unsatisfied at the time of the Plan Confirmation, which at this time are estimated to be less than
 $2,000.00. U.S. Trustee fees continue to accrue until the case is closed by a final decree. Other
 allowed administrative claims will be paid within 30 days of allowance. Any party seeking
 payment of an administrative claim must file such a request on or before the confirmation hearing
 date, except those claims that accrue post-confirmation. The claims of Class 1 are impaired.

 Class 2: Real Estate Claims – Secured Claims.

         The lenders having collateral security for the Notes owed by the Trust and/or the Debtor
 will be allowed a secured claim in the amount of the value of the collateral as set forth in the filed
 reaffirmation-modification agreements or as provided in any Final Order entered in this case, but
 no more than the allowed secured claim of the lender. The lenders having reached agreement as to
 value of the collateral mortgaged or having entered into modification agreements or as provided in
 any Final Order entered in this case establishing the secured amount of their allowed claim will
 receive the treatment as provided for in the respective modification-reaffirmation documents or
 any Final Order as to the secured claim. See Exhibit “F “of the First Amended Disclosure
 Statement for the docket number and summary of terms for reaffirmation-modification agreements
 of Final Order reached with lenders. Lenders in this class shall retain any pre-petition mortgage,
 security interest, or lien on their respective collateral in all respects. Lenders, the Trust and Debtor
 shall be bound by the terms of the respective reaffirmation-modification agreements or any Final
 Order entered in this case to date and Debtor or the Trust shall receive no discharge of any in rem
 or in personam obligation as provided for in the respective reaffirmation-modification agreements
 or any Final Order until such allowed secured claim provided for is fully paid.

         Any amount of an allowed claim of a lender that is not an allowed secured claim shall be
 treated as an unsecured claim, the treatment of which is governed in Class 7 below. Debtor shall
 remain liable in the same manner as he was liable as to the original note for the amount of the
 allowed secured claim, unless otherwise provided for in the reaffirmation-modification agreement


                                                    4
Case 3:10-bk-33397        Doc 382    Filed 09/09/11 Entered 09/09/11 13:57:23               Desc Main
                                    Document     Page 5 of 14


 or any Final Order entered in this case. Should the allowed secured claim be less than the amount
 due on the Note at filing, the amount not covered by the secured claim, if allowed, shall be treated
 as an unsecured claim and treated in accordance with Class7.

          Lenders included in this Class 2 treatment are impaired. See Exhibit “ B” to the First
 Amended Disclosure Statement listing such lenders and properties. Except as otherwise provided
 in any Final Order entered prior to confirmation of this amended Plan, should any lender not file a
 proof of claim, not contest any amendment disputing their claim, nor contest an objection made to
 their claim, such claim shall be treated only as a Class 7 claim, if allowed, and such lender shall be
 bound by the 524 injunction issued at confirmation of the Plan, including without limitation,
 taking any action to collect upon its claim while the Debtor is performing the terms of the
 confirmed Plan and the case has not converted to Chapter 7 proceedings.

         The reaffirmation-modification agreement with American Savings Bank regarding the
 $20,000 note secured by vehicles shall be extended on the maturity date to 12-31-2011 and a
 principal payment of $1,000 to be made beginning July 1, 2011. The financing agreements on the
 Toyota Tundra with Toyota Financial and the Honda Odyssey with Chase Manhattan will continue
 to be paid pursuant to contract terms.

 Class 3: Real Estate Claims Properties retained by Debtor with no modification of Note in place
 or no agreement reached as to modification at confirmation, Treatment of Surrendered Properties.

         One Lender is included in this Class and is still negotiating with the Debtor to try to reach
 modification on Note. No agreement has been reached at this time. See Exhibit “C" to the First
 Amended Disclosure Statement as Modified at the Disclosure Statement Hearing, listing such
 lender and property. The lender shall be allowed a secured claim based on the fair market value of
 the respective property determined by a hearing to be held by the Court before, at, or after
 confirmation as provided for in the Plan. Should the parties subsequently agree to the fair market
 value of the property and modification terms as to the Note, the lender, Trust and Debtor shall be
 bound by the terms of the modification agreement reached which shall be in writing and signed by
 the necessary parties. Should such agreement be reached and executed the lender then shall be
 treated as set forth in Class 2.

         Should no agreement be reached between the Debtor and lender for modification, the Court
 will determine the rate of interest to be paid on the secured claim based on a thirty year
 amortization period and a maturity date of not less than ten years. If the reorganized debtor agrees
 to retain the property after the determination by the Court of the value of the secured claim, the
 interest rate and other terms; then the reorganized Debtor shall determine whether he will retain the
 property and pay the obligation of the secured claim on the terms found by the Court, or whether
 he shall surrender the property to the lender. To the extent the allowed amount of the modified note
 (secured claim) is less than the amount set forth in the proof of claim filed by the lender or the
 amount scheduled by the debtor, such “unsecured” or under secured amount, if allowed, shall be
 treated as a Class 7 claim, unless the reorganized debtor decides to surrender the property and then
 all allowed claims of the lender shall as to the Note secured by such property shall be treated as a
 Class 7 claim and in accordance with the Plan.



                                                   5
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                     Document     Page 6 of 14


        Allowed claims of a Lender whose properties are not retained by the Debtor and are
 surrendered to a Lender shall not participate in Class 7 dividends or distributions until such time
 they have liquidated the real estate collateralizing their Note and have reduced their allowed claim
 by the amount of the gross proceeds of recovered from the liquidated collateral. The allowed
 claims of this Class shall be paid in accordance with the applicable treatment under Class 2, 3 or 7
 whichever may be applicable.

        The claims of Class 3 are impaired; however, if no lenders claims remain Class 3 claims at
 confirmation, then this class is not impaired and deemed to have accepted the Plan.

 Class 4: Claims of Kelly and Brenda Hollon.

         To the extent the claims of Kelly and Brenda Hollon are allowed by the Court, they shall be
 treated as general unsecured claims as provided for in Class 7 below, and shall be bound by the
 terms and conditions set forth in the confirmed Plan. To the extent the claims of the Hollons are
 allowed and found to be non-dischargeable by a final non-appealable order of the Court, such
 claims shall be paid first on a pro-rata basis with all Class 7 allowed claims as provided for in the
 Plan. Should any distributions be made to the Hollons pursuant to the Plan those distributions shall
 be applied first to any non-dischargeable claims allowed by the Court. Once Class 7 claims have
 been paid as provided for in the Plan, should the Hollons still have any non-dischargeable allowed
 claims unpaid, those remaining unpaid allowed non-dischargeable claims shall be subordinated to
 the rights of other Class 1 through 6 claims allowed for by the Plan which are still remaining to be
 paid under the Plan and enforcement of such remaining claims shall be enjoined until such time all
 allowed payments provided for in Class1 through Class 6 are fully paid.

 Class 5: Claims For Real Estate Taxes.

         Debtor has reached agreement with the Butler County Treasurer for delinquent taxes in the
 amount of $288,821.13 and Warren County Treasurer in the amount of $42,022.99. These
 delinquent taxes will be paid in accordance with delinquent tax agreements reached respectively
 with each Treasurer. The claims of the holders of real estate tax claims shall remain secured by
 statutory lien rights granted by law. Real estate taxes accruing post-confirmation will be paid when
 due. The claims of Class 5 are impaired.

 Class 6: Claims of other Governmental Units.

         To the extent any claims of this class are filed and allowed, they shall be repaid in quarterly
 installments after confirmation and shall be paid in full on or before May 24, 2015. Penalties
 claims allowed shall be classified as general unsecured claims.. The claims of Class 6 are
 impaired; however, if no claims remain Class 6 claims at confirmation, then this class is not
 impaired and deemed to have accepted the Plan.

 Class 7: Other General Unsecured Claims.

        The claims of this Class include all other claims not specifically provided for or as
 otherwise provided for in Classes 1-6, any unsecured claim set forth in any Final Order entered in


                                                   6
Case 3:10-bk-33397       Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                    Document     Page 7 of 14


 this Chapter 11 case prior to confirmation, including, and without limitation, other general
 unsecured claims not having allowable and perfected security interests in property of the Debtor or
 the Trust, creditors claiming security interests in non real estate or vehicle collateral, penalty
 claims, timely filed claims not subject to treatment provided for in Class 1-6, and claims scheduled
 in Class F of the Schedules filed by the Debtor, if no proof of claim was filed.

         Debtor shall pay an annual dividend of no less than $5,000.00 to allowed claims of this
 Class, on a pro rata basis, beginning October 10, 2012 and each following October 10th through
 2021, or until such time Debtor has paid a dividend totaling $50,000.00. The amount of allowed
 unsecured claims not provided for payment as set forth above shall be discharged at confirmation.
 The payments as provided for in Class 7 shall not be discharged at confirmation and Debtor shall
 remain liable to pay the $50,000 as provided for until such $50,000.00 is fully paid. The
 Reorganized Debtor will accelerate payment of the $50,000.00 dividend to Class7 allowed claims
 if projection amounts of $5,000.00 for Class 7 are exceeded per annum after full payment of the
 amounts due Class1-6 are paid in full for each year. Any debt found to be non-dischargeable shall
 be accorded treatment in accordance with the Class 7, but shall be subject to payment on a prorate
 basis with other allowed claims of Class 7, to the extent such allowed non-dischargeable debts are
 not fully paid in accordance with Class 7 treatment, the holder of such allowed non-dischargeable
 debt shall be subordinated to the payments of allowed claims in Class1-6 until such Class 1-6
 allowed claims are fully paid and the holder of such allowed non-dischargeable debts shall be
 enjoined from enforcement of such allowed non-dischargeable debt until the allowed claims of
 Classes 1-6 are fully paid and until such time the $50,000.00 due Class 7 allowed claims are fully
 paid.


 Class 8: Interests of Jeffery A. Faulkner and Interests of Jeffery A. Faulkner in the Faulkner
 Family Trust.

         To the extent a reaffirmation agreement has been filed or a Final Order modifying any
 claim has been entered, lenders, the Trust and Debtor shall be bound by the reaffirmation or terms
 of any Final Order which modifies claims, with Jeffrey A. Faulkner to remain personally liable
 upon the allowed secured claim portion (modified amount of the Note) reaffirmed or as otherwise
 provided in any Final Order. For properties where relief of stay has been previously granted or
 where possession of properties have been previously surrendered to a lender, Jeffrey A. Faulkner
 shall not remain personally liable on the lender claims on notes or other claims of lenders that have
 mortgage notes and mortgages on any such property other than to be provided for in Class 7. The
 Trust shall remain record owner of the Properties retained.

                                           ARTICLE IV

                        Provisions or Treatment of Leases and Executory
                                           Contracts

 Debtor has no executory contracts. Reaffirmation agreements filed and agreed modification orders
 entered will continue to be performed by the Debtor post-confirmation. Leases with tenants will
 continue in the ordinary course of business.


                                                  7
Case 3:10-bk-33397        Doc 382    Filed 09/09/11 Entered 09/09/11 13:57:23               Desc Main
                                    Document     Page 8 of 14


                                            ARTICLE V.

                                    Means for Execution of Plan

       The Plan is premised upon the following particulars:
        1.       The Debtor will remain in possession of the business, including all interests in the
 Properties of the Trust, and will control the operation of the business and the Trust.
       2.     The Debtor will devote full time and energy to its operations and the successful
 management thereof.
         3.      Based on current profit and market projections, set out more particularly in the
 Disclosure Statement filed herewith, the Debtor reasonably expects to generate enough net income
 to fund the future payments called for by the Plan.
         4.     After Confirmation of this Plan, the Debtor may, with Court approval and so long
 as it does not materially or adversely affect the interest of the creditors, remedy any defect or
 inconsistency in the Plan as may be necessary to carry out the purposes and effect of the Plan.
 Debtor shall continue to file monthly operating reports post-confirmation and pay quarterly U.S.
 Trustee fees when due until such time a final decree is entered in this case.

          5. Any clause, within this Plan that is determined to be unconstitutional, illegal, or
 otherwise improper or against public policy, shall be severed and stricken from the Plan and shall not
 invalidate or otherwise render void the remainder of the Plan.

         6. Unless another date is provided for under this Plan or by the Bankruptcy Court, all
 objections to claims shall be filed before one-hundred eighty (180) days after Confirmation, without
 prejudice to the extension of such period, upon proper motion. The Debtor shall serve a copy of each
 such objection upon the holder of the claim to which it pertains in accordance with Bankruptcy Rule
 3007.

         7. The Court will retain jurisdiction, to the extent provided by applicable law, in this case
 after Confirmation to rule on objections to claims, as well as other items necessary to the
 administration of the Plan, including but not limited to those rights reserved in Article VII and
 jurisdiction retained as set forth in Article VIII.

         8. Where the Plan provides for payments to be made on specified dates, a fifteen (15) day
 period of grace will be allowed.

         9.      The Debtor may execute and deliver promissory notes in satisfaction of the
 obligations set forth in the Plan. Said promissory Notes shall not vary the terms of the Plan unless
 mutually agreed and approved.




                                                   8
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23               Desc Main
                                     Document     Page 9 of 14


                                            ARTICLE VI.

                       Request for Confirmation Under 11 U.S.C. §1129(6)

        In the event any impaired class of claims or interests does not accept the Plan, the Debtor
 requests the Court confirm the Plan under the provisions of 11 U.S.C. § 1129(b).

                                           ARTICLE VII.

                                        Reservation of Rights

        1.      Notwithstanding any other provision of the Plan or confirmation of the Plan,
 disputed claims and claims subject to set-off and/or counterclaim shall be paid only upon their
 allowance by the Court and the Debtor reserves the right to object to any claim.
         2.      Notwithstanding the confirmation of the Plan, and to the extent permitted by
 applicable law, the Debtor shall retain and remain in possession of the causes of action as it may
 have under the United States Bankruptcy Code or under otherwise applicable Federal or State law,
 and shall be authorized to prosecute such actions as fully and completely as if the same were being
 prosecuted by a Trustee in bankruptcy or otherwise. Additionally, the Debtor shall, to the extent
 permitted by applicable law, retain the right to pursue all other claims that it has which accrue to the
 Debtors whether or not pending in federal, state or other court. Notwithstanding the above, any
 claims for recovery arising under the Bankruptcy Code ("Bankruptcy Claims") such as preferences
 or fraudulent conveyances, must be commenced within 180 days after confirmation. In connection
 with (i) the review for the existence of or (ii) the prosecution of any Bankruptcy claims, the Debtor
 agrees that financial information, documents, and books and records relating to specific transactions
 will be made available to counsel for transferees for review and investigation.
         3.      Notwithstanding the confirmation of the Plan and to the extent permitted by law,
 the Debtor shall retain the right to litigate and/or dispute the validity, priority, extent and/or
 amount of any alleged secured or unsecured claim, whether or not addressed specifically in the
 Plan, and shall retain the right to litigate and/or dispute the extent and validity of the claims of any
 unsecured creditor, except as otherwise provided in the Plan.

                                           ARTICLE VIII.

                                      Jurisdiction of the Court

       The Court will retain, to the extent permitted by applicable law, exclusive jurisdiction over
 the Debtor's Chapter 11 reorganization proceeding until a final decree is entered after Plan
 consummation and for various purposes including, but not limited to, the following:

         1.       For classification or re-classification of the claims of any creditor and the
 examination or re-examination of any claims which have been allowed for purposes of voting, and
 the determination of such objections as may be filed to creditors' claims. The failure by the Debtor
 to object to, dispute, or to examine any claim for the purpose of voting shall not be deemed to be a



                                                    9
Case 3:10-bk-33397       Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                   Document      Page 10 of 14


 waiver of the Debtor's right to subsequently object to, dispute, or re-examine the claim in whole or
 in part.

        2.      For determination of all questions and disputes regarding title to the assets of the
 Debtor's estate, property of the estate, the automatic stay, determination of all causes of action,
 controversies, disputes or conflicts, whether or not subject to an action pending as of the date of
 confirmation, between the Debtor and any other party, including, but not limited to, any rights of
 the Debtor to recover assets pursuant to the provisions of Title 11 of the United States Code or
 otherwise. In addition, the Court's power shall include, but not be limited to, the power to hear,
 determine and approve settlements of any such litigation; hear, determine and allow the payment
 of expenses incidental to such claims; and to make such other orders and determinations as may be
 reasonable and proper in the premises.

        3.      For the correction of any defect, the curing of any omission, or the reconciliation of
 any inconsistency in the Plan or the Order of Confirmation as may be necessary to carry out the
 purposes and intent of the Plan.

         4.      To consider any matters brought before the Court by an interested party necessary
 to carry out the terms, conditions and intent of the Plan.

        5.      For the modification of the Plan after Confirmation pursuant to the Bankruptcy
 Rules and Title 11 of the United States Code.

        6.       To enforce and interpret the terms and conditions of the Plan or any Final Order
 entered in this case prior to confirmation of this Plan.

          7.      To enter any Order, including but not limited to injunctions, to implement the terms
 of the Plan or to enforce the title, rights and powers of the Debtor and to impose such limitations,
 restrictions, terms and conditions of such title, rights and powers as the Court may deem necessary
 or proper.

         8.       To determine whether a default has occurred under the provisions of the Plan, and to
 make such Orders as the Court deems necessary to cure such default or to enforce the provisions of
 the Plan, or as the Court otherwise deems appropriate and necessary.

        9.       To determine the allowance of claims or interest and the distribution and payment of
 claims or interests.

       10.      To enter an Order concluding and terminating this bankruptcy case.




                                                  10
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                    Document      Page 11 of 14



                                          ARTICLE IX

                                            Discharge

        1. Discharge.

         Unless after notice and hearing the Court orders otherwise for cause, confirmation of an
 individual Debtor's Chapter 11 Plan does not discharge any debt provided for in the Plan or any
 Final Order until the Court grants a discharge on completion of all payments under the Plan or any
 Final Order entered prior to confirmation, in accordance with 11 U.S.C. §1141(d) (5) (A). The
 Court may grant a discharge prior to Plan completion under sub-part (b) of that Section if there
 exists a lack of practical ability to modify the confirmed Plan and the distribution of all property
 under the Plan is no less than unsecured creditors would have received in a Chapter 7 liquidation.
 The Debtor and the Trust will not discharge the allowed secured claims as provided for in Class 2
 until such obligations are fully paid as provided for in the reaffirmation-modification agreements
 or in any Final Order previously entered in this case which modifies any claim. Debtor will seek a
 discharge order upon substantial consummation of the Plan and before the entry of a Final Decree
 as to allowed unsecured claims of Class 7 to the extent they exceed the $50,000.00 provided for
 payment on unsecured claims of Class 7. Any debt found to be non-dischargeable shall be
 accorded treatment in accordance with the Class 7, but shall be subject to payment on a prorata
 basis with other allowed claims of Class 7, to the extent such allowed non-dischargeable debts are
 not fully paid in accordance with Class 7 treatment, the holder of such allowed non-dischargeable
 debt shall be subordinated to the payments of allowed claims in Class1-6 until such Class 1-6
 allowed claims are fully paid and the holder of such allowed non-dischargeable debts shall be
 enjoined from enforcement of such allowed non-dischargeable debt until the allowed claims of
 Classes 1-6 are fully paid and until such time the $50,000.00 due Class 7 allowed claims are fully
 paid.

        2. Scope of Discharge.

         The discharge of the Debtor shall be effective as to each claim, regardless of whether a
 Proof of Claim was filed, whether the claim is an allowed claim or whether the holder thereof votes
 to accept the Plan. The automatic stay shall remain in effect pursuant to 11 U.S.C. § 1115. As to
 every discharged claim and interest any holder of such claim or interest shall be precluded from
 asserting against the reorganized Debtor or against their respective assets or properties any other or
 further claim or interest based upon any document, instrument, act, omission, transaction, or other
 activity of any kind or nature that occurred before the Confirmation date. Further, any holder of a
 claim or interest shall be precluded from asserting the same against the Debtor or the reorganized
 Debtor, except as specifically provided for in the Plan or any Final Order entered prior to
 confirmation of this Plan.

        3. Injunction.
        (a) effective on the confirmation date, all persons who have held, hold or may hold claims or
 allowed claims, or who have held, hold or may hold interests, shall be enjoined from taking any of


                                                  11
Case 3:10-bk-33397       Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23               Desc Main
                                   Document      Page 12 of 14


 the following actions against or affecting the Debtor or the assets of the Debtor or the Trust (other
 than actions brought to enforce any rights or obligations under the Plan or appeals, if any, from the
 Confirmation Order or with respect to such claims or interests):

              (i) commencing, conducting or continuing in any manner, directly or indirectly,
              any suit, action or other proceeding of any kind against the Debtor, or the assets
              of the Debtor or the Trust, or any direct or indirect successor in interest to the
              Debtor, or any assets of any such transferee or successor;

               (ii) enforcing, levying, attaching, collecting or otherwise recovering by any
              manner or means whether directly or indirectly, any judgment, award, decree
              or order against the Debtor or the assets of the Debtor or the Trust, or any direct
              or indirect successor in interest to the Debtor, or any assets of any such
              transferee or successor;

              (iii) creating, perfecting otherwise enforcing in any manner, directly or
              indirectly, any encumbrance of any kind against the Debtor or the assets of the
              Debtor or the Trust or any direct or indirect successor in interest to any of the
              Debtor, or any assets of any such transferee or successor other than as
              contemplated by the Plan;

              (iv) asserting any set-off-right of subordination or recoupment of any kind,
              directly or indirectly against any obligation due the Debtor or the assets of the
              Debtor or the Trust, or any direct or indirect transferee of any assets of, or
              successors in interest to the Debtor; and

              (v) proceeding in any manner in any place whatsoever that does not conform to
              or comply with the provisions of the Plan.

                                            ARTICLE X

                                     Miscellaneous Provisions

 1. Avoidance Action.

        The Debtor may, not later than one hundred eighty (180) days following the Confirmation
 Date, commence any action in the Bankruptcy Court for the recovery of bankruptcy claims.
 2. Amounts of Claims.

         All references to claims and amounts of claims refer to the amount of the claim allowed by
 operation of law, Final Order of the Bankruptcy Court or this Plan, provided; however, that claims
 which have been objected to and which have not been allowed or disallowed prior to the ballot date
 shall be voted and counted to the extent fixed and in such amount as estimated by or fixed by the
 Bankruptcy Court. The Debtor and other interested parties reserve the right, both before and after
 the confirmation date, to object to claims so as to have the Court determine the allowed amount of
 such claims in respect of this Plan.


                                                  12
Case 3:10-bk-33397        Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                    Document      Page 13 of 14




 3. No Interest.

        Except as expressly stated in this Plan, or directed by the Bankruptcy Court, no interest,
 penalty or late charge is to be allowed on any claim subsequent to the filing date.

 4. No Attorneys' Fees.

         No attorneys' fees will be paid with respect to the assertion against the Debtor on any claim
 of creditors except as may otherwise be identified herein by specific dollar amount or directed by the
 Confirmation Order or other Final Order of the Bankruptcy Court.
 5. Exculpation.

         Not Debtor, and none of the Debtor's employees, attorneys, accountants, advisors or agents
 shall have or incur any liability to any holder for any act or omission in connection with or arising
 out of their administration of the Plan or the property to be distributed under the Plan except for
 gross negligence or willful misconduct.

 6. Post-Confirmation Effect of Evidences of Claims or Interests.

        Except as otherwise provided in the Plan, effective upon the confirmation date, all
 evidences of claims or interests shall represent only the right to participate in the distributions, if
 any, contemplated by the Plan. No security interests except as specifically provided in the Plan or
 Order Confirming the Plan shall continue in or against the property of the Debtor.

 7. No Prepayment Penalties.

       Notwithstanding any provision of the Plan or any obligation or loan document or
 agreement adopted by the Plan, there shall be no prepayment penalties.

 8. Governing Law.

         Except to the extent the Bankruptcy Code or Federal Bankruptcy Rules are applicable, the
 rights and obligations arising under this Plan shall be governed by, and construed and enforced in
 accordance with, the laws of the State of Ohio, without giving effect to the principles of conflicts
 of law thereof.

 9. Headings.

       The headings of the Articles, paragraphs and sections of this Plan reinserted for
 convenience only and shall not affect the interpretation hereof.

 10. Notices.




                                                   13
Case 3:10-bk-33397       Doc 382     Filed 09/09/11 Entered 09/09/11 13:57:23              Desc Main
                                   Document      Page 14 of 14


         All notices, requests, elections or demands in connection with this Plan shall be in writing
 and shall be delivered by personal or overnight delivery service or courier, or by registered or
 certified mail, return receipt requested to:

        Jeffery A Faulkner
        7733 Pleasant Valley
        Camden, OH 45311

 with copies to:

        Thomas R. Noland Esq.
        Statman, Harris & Eyrich, LLC
        1 S. Main St., Suite 900
        Dayton, OH 45402

 11. Successors and Assigns.

        The rights, benefits and obligations of any person named or referred to in this Plan will be
 binding upon, and will inure to the benefit of, the heirs, executor, administrators, representatives,
 successors or assigns of such person.

 Dated: September 9, 2011.                             /s/ Jeffery A. Faulkner
                                                       Jeffery A. Faulkner
                                                       Debtor and Debtor in Possession
 Statman, Harris & Eyrich, LLC


  /s/ Thomas R. Noland
 Thomas R. Noland (0018239)
 Michael Keefe (0086645
 900 Fifth Third Center
 1 S. Main Street
 Dayton, OH 45402
 937-222-1090
 937-222-1046 fax
 notices@statmanharris.com
 Counsel for Debtor and Debtor in Possession




                                                  14
